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 6

 7   Attorneys for Defendant,
     Dr. Carol Alley
 8                                  UNITED STATES DISTRICT COURT
 9                                         DISTRICT OF NEVADA
10   ROY MORAGA,
                                                               CaseNo. 3:19-cv-00654-MMD-WGC
11                         Plaintiff,
12   vs.
                                                               STIPULATION AND ORDER FOR
13   DR. ALLEY, et al.,                                         DISMISSAL WITH PREJUDICE
14                         Defendants.
15            IT IS HEREBY STIPULATED by and between Plaintiff, Roy Moraga, and Defendants, by and
16   through counsel, Aaron D. Ford, Attorney General of the State of Nevada, and Douglas R. Rands, Senior

17   Deputy Attorney General, based upon the Settlement Agreement between the parties, that the above-
18   captioned action should be dismissed with prejudice by order of this Court, with each party to bear his
19   own costs.

20   III

21   III

22   I II
23   I II
24   II I
25   III

26   II I

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 1          This Stipulation for Dismissal with Prejudice is executed as part of an out-of-court settlement
 2   between parties. Each party will bear its own attorney's fees and costs, if any.
 3          DATED this J., 7th of~D~(--~f_ _ _ _ 2020.
 4                                                           AARONr:f.   PRD
                                                             Attorney e era!
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 7                                                                      AS R. RANDS, Bar No. 3572
 8   Plaintiff                                                  Senior Deputy Attorney General
                                                                Attorneys for Defendants
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10

11                                                           IT IS SO ORDERED.
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13
                                                             U.S. DISTRICT JUDGE
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15                                                           DATED: _11/6/2020
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